                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

  GREG ADKISSON, et al.,                    )
            Plaintiffs,                     )
  v.                                        )    No.: 3:13-CV-505-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )        Lead Case Consolidated with
                                            )
  KEVIN THOMPSON, et al.,                   )
            Plaintiffs,                     )
  v.                                        )    No.: 3:13-CV-666-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )        as consolidated with
                                            )
  JOE CUNNINGHAM, et al.,                   )
            Plaintiffs,                     )
  v.                                        )    No.: 3:14-CV-20-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )
                                            )
  BILL ROSE,                                )
               Plaintiff,                   )
  v.                                        )    No.: 3:15-CV-17-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )
                                            )
  CRAIG WILKINSON, et al.,                  )
            Plaintiffs,                     )
  v.                                        )    No.: 3:15-CV-274-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
            Defendant.                      )
                                            )
                                            )
  ANGIE SHELTON, as wife and next of        )
  kin on behalf of Mike Shelton, et al.,    )
                 Plaintiffs,                )
  v.                                        )    No.: 3:15-CV-420-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,           )
                 Defendant.                 )
                                            )




Case 3:13-cv-00505-TAV-HBG Document 680 Filed 11/05/20 Page 1 of 3 PageID #: 20030
  JOHNNY CHURCH,                                        )
            Plaintiff,                                  )
  v.                                                    )     No.: 3:15-CV-460-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,                       )
            Defendant.                                  )
                                                        )
                                                        )
  DONALD R. VANGUILDER, JR.,                            )
             Plaintiff,                                 )
  v.                                                    )     No.: 3:15-CV-462-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,                       )
             Defendant.                                 )
                                                        )
                                                        )
  JUDY IVENS, as sister and next of kin,                )
  on behalf of JEAN NANCE, deceased,                    )
                 Plaintiff,                             )
  v.                                                    )      No.: 3:16-CV-635-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,                       )
                 Defendant.                             )
                                                        )
                                                        )
  PAUL RANDY FARROW,                                    )
            Plaintiff,                                  )
  v.                                                    )       No.: 3:16-CV-636-TAV-HBG
  JACOBS ENGINEERING GROUP, INC.,                       )
            Defendant.                                  )
                                                        )

                                                ORDER

         This case is before the undersigned pursuant to 28 U.S.C. § 636, the Rules of this Court, and

  Standing Order 13-02.

         Now before the Court is the Motion to Quash [Doc. 645], filed by non-party Tom D. Kilgore

  (“Kilgore”) on October 21, 2020. Kilgore seeks to quash the deposition subpoena issued to and

  served on him by Plaintiff’s counsel, stating that subjecting him to a deposition on irrelevant issues

  relating to Phase II upon which he has limited knowledge would be unduly burdensome.

  Additionally, Kilgore includes an affidavit wherein he states that he recently suffered a stroke on

  January 29, 2019, which has impacted his memory. [Doc. 646].


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Case 3:13-cv-00505-TAV-HBG Document 680 Filed 11/05/20 Page 2 of 3 PageID #: 20031
         Plaintiffs subsequently filed a Motion to Withdraw Subpoena of Tom D. Kilgore [Doc. 678],

  as well as a Notice [Doc. 679] that they do not oppose the Motion to Quash [Doc. 645]. Accordingly,

  Plaintiffs’ Motion to Withdraw the Subpoena [Doc. 678] is GRANTED, and the Subpoena of Tom

  D. Kilgore is WITHDRAWN. 1 Therefore, Kilgore’s Motion to Quash [Doc. 645] is DENIED AS

  MOOT.

         IT IS SO ORDERED.

                                               ENTER:


                                               United States Magistrate Judge




         1
           The Court notes that the executed subpoena of Kilgore was not filed by Plaintiffs before
  the Court. See [Doc. 647-1].
                                                  3

Case 3:13-cv-00505-TAV-HBG Document 680 Filed 11/05/20 Page 3 of 3 PageID #: 20032
